   W<2..^<UCy~\            .^i^'S^T'iC.7^ cS^
                                                                  TttED
                                                                    APR 2 0 2022
               ^ ^0A^Q'r^r 1^                                 CARMELITA REEDER SHINN, CLERK
                                                          as. DIST. COtol^ESTERN DIST. OKLA
                                              ~1^    '—- BY...,
                                                          '^-        'VyV             -DEPUTY-

                                        ^6^-£J3L:JJ^321-3L




                 })/o9injt:: ^ £eb^a^


          '^oj-iC.e^—1_^—k.cjZe^ky—cl,/V&w. -)4ir./^ -hi,
                    y'w,        .7.k<


                           CC'Lll^.__^Cc>Q:^ :kild^ h i'\l-'r^
"j/Lfs,
                                                                        i?r,.aa           ■



    )\xl.-/A7^^ J




                                                      ttt:?-2.
                       ff




                                     On 7^1 c^Yl                         J .-.O^                 v i/—
                              yju^ /y'yt rfp/'^ja 71 ejcf cJe^)nri'?-. , ( O/^ Cc^<^,ri .€^^
I
                  v<3 o -L/^ iX-r         , n/'              ). Uv\           >e^C2,
                              /'y                      X^KeJ^TJ^Mh'cyn^ J :)^ve^ G-O^/e^
                  CLn/^,'cr^                             JO^afyna^jC^
                  J<, /^/lue^ dz^i^cf(L/2>f             •

                      iL^/At.% iW/7                         / )YUSA. %)^^I


                            JoY'''-^■('            ^n C)/Sc\\-0iot,t2^                 ^<^^oryyic,^>AY.
                             'Ko^r          f^oan-.J^-- oL.              /-       />£- Ja-VC'KIaa
                  ^ ~fke^ '^o .' ^Ayyi /^o.^) '^ox l^ojcX^ a<. JJLiX/JL^ Qj32
                  'R /Q/icof cryu              —        r        :




                  —                                                                J
                                                                                                 //u -
                                                                                                  /




    1
                                                              AX]. X—^
    i
    1
                                                        y~?o\n.O^ ?              ReJfeo.nn
    j                                                                             )jAj<\CyrX?0
                                                                                           ^




    1
    1



    j
    't




    !■ -
        i
            " "
                                                                                 I ]] . -safl-     x-
